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9 UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA
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12 || SOUNDEXCHANGE, INC. Case No, 2:22-cv-04410-AB-AFM
13 Plaintiff, PCa CONSENT

UDGMENT

14 Vv.
15 || LIVEXLIVE MEDIA INC. &

‘ SLACKER, INC.
1

Defendants.
17
18
it CONSENT JUDGMENT
20 Plaintiff having filed an action for unpaid royalties against Defendants, the
21 parties now request entry of this Judgment.
22
a IT IS ORDERED, ADJUDGED AND DECREED THAT:
24 1, Plaintiff SoundExchange, Inc. ("SX") is the sole entity designated by
25 regulation in the United States to collect statutory license payments for digital audio
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a transmissions of sound recordings and to distribute those payments to performing
2g || artists and copyright owners. Defendant Slacker, Inc. ("Slacker") is a user of the
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{PROPOSED} CONSENT JUDGMENT

 

 

 
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Copyright Act's "statutory license" to make digital transmissions of sound recordings.
Slacker is obligated to make payments to SoundExchange under the statutory license.
Defendant LiveXLive Media Inc. ("LiveXLive") owns Slacker.

5. Defendants have not made statutory license payments since
approximately 2017. To cure this non-payment, Defendants shall pay to SX the sum
of $_9.765,396.70 , which represents an agreed amount of
$9,644,527.10 minus $ 2,462,746.26 , which represents the amount
that has already been paid by Defendants pursuant to the Royalty Payment Plan

Agreement between the parties, plus $ 2,583,615.86

, which represents

the amount of statutory license and/or other royalties Defendants failed to make

following the parties' Royalty Payment Plan Agreement, plus associated and/or

unpaid late fees. Therefore, judgment is hereby entered in favor of Plaintiff and

against Defendants in the amount of $ 9,765,396.70 , plus interest from
Oct. 12, 2022 -

4. Defendants, their agents, affiliates, and subsidiaries, are permanently
restrained and enjoined from using the Copyright Act's "statutory license" to make
digital transmissions of sound recordings, found at 17 U.S.C. §§ 112(e) and 114 and
related regulations. Notwithstanding the foregoing, nothing in this Order shall prohibit
SX, copyright owners, and Defendants and/or their affiliates from negotiating and
entering into a mutually agreeable license for Defendants and/or their affiliates to make

digital transmissions of sound recordings.

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[PROPOSED] CONSENT JUDGMENT

 

 

 
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5. SX shall be entitled to recovery of reasonable attorneys’ fees and costs
incurred in the course of seeking to recover the unpaid statutory license fees, which
amount shall be determined by a motion filed after entry of this judgment.

6. This Court shall retain jurisdiction over this matter for enforcement of this
Judgment.

Dated: October 13, 2022 bs
Hon. André Birotte Jr.
United States District Court Judge

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PROPOSED} CONSENT JUDGMENT

 

 

 
